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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION


ALLEN DAVID DANIEL, #537193,

             Plaintiff,                        Case No. 08-10999

v.                                             DISTRICT JUDGE ARTHUR J.
                                               TARNOW
JENNIFER GRANHOLM, et al.,
                                               MAGISTRATE JUDGE STEVEN D.
             Defendants.                       PEPE
                                       /


      ORDER DENYING PLAINTIFF’S MOTIONS [10], [11], and [14]
                FOR RELIEF FROM JUDGMENT

      On March 10, 2008, Plaintiff filed a civil rights Complaint [1] pursuant to 42
U.S.C. § 1983. Plaintiff is currently incarcerated at the Marquette Branch Prison in
Marquette, Michigan, after his conviction on charges of malicious destruction of
property, aggravated stalking, larceny in a building, home invasion, assault with intent
to murder, and felony firearm. In this action, Plaintiff complained that his conviction
was the result of a conspiracy among a group of over 290 defendants.
      On April 11, 2008, after careful consideration, the Court summarily dismissed
[7] the Complaint, pursuant to 28 U.S.C. § 1915(e)(2), for failure to state a claim upon
which relief can be granted. The Court reasoned that, although a § 1983 action is an
appropriate vehicle for a prisoner challenging the constitutionality of the conditions
of his confinement, it is not a proper remedy for a prisoner seeking, as Plaintiff
apparently seeks, “to challenge the very fact or duration of the confinement itself.”
See Preiser v. Rodriguez, 411 U.S. 475, 499 (1973).
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        Since the dismissal of this case, Plaintiff has filed three Motions for Relief from
Judgment [10], [11], and [14], each citing Fed. R. Civ. P. 58, which controls the
Court’s entry of a judgment. For purposes of the pending Motions, the Court will
construe Plaintiff’s pleadings under Fed. R. Civ. P. 60, “Relief from a Judgment or
Order.” That rule permits relief from a final judgment or order if any of the following
provisions applies:
              (1) mistake, inadvertence, surprise, or excusable neglect;
              (2) newly discovered evidence that, with reasonable
              diligence, could not have been discovered in time to move
              for a new trial under Rule 59(b);
              (3) fraud (whether previously called intrinsic or extrinsic),
              misrepresentation, or misconduct by an opposing party;
              (4) the judgment is void;
              (5) the judgment has been satisfied, released or discharged;
              it is based on an earlier judgment that has been reversed or
              vacated; or applying it prospectively is no longer equitable;
              or
              (6) any other reason that justifies relief.

Fed. R. Civ. P. 60. Here, it seems that none of those conditions exists.
        Plaintiff’s lengthy pleadings do little to explain any possible basis for relief
from this Court’s final Order dismissing his § 1983 action. In an apparent reference
to his arrest and subsequent criminal trial, Plaintiff mentions that “[t]his Court and
other Courts were intentionally mislead (sic)” by law enforcement officials, and that
thereafter “the Court entered judgment and orders that are inconsistent with due
process.” See Pl.’s Mot. [14] at 5. Plaintiff argues that he was “falsely convicted” and
deprived of his right to a fair trial. See Pl.’s Mot. [11-2] at 5. Plaintiff asks the Court
“to grant relief from judgment to proceed with this § 1983 action.” See Pl.’s Mot. [10]
at 6.
        In each request, Plaintiff appears to protest not the conditions of his
confinement, but “the very fact . . . of the confinement itself.” See Preiser, 411 U.S.
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at 499. As the Court held when it dismissed this case, a § 1983 action is not the
appropriate vehicle for such a challenge. See id.
      Plaintiff has failed to invoke, under Fed. R. Civ. P. 60, an applicable basis upon
which the Court might reconsider its determination that this § 1983 action must be
dismissed for failure to state a claim upon which relief can be granted.
      Accordingly,
      IT IS HEREBY ORDERED that Plaintiff’s Motions for Relief from Judgment
[10], [11], and [14] are DENIED.
      SO ORDERED.




                          S/ARTHUR J. TARNOW
                          Arthur J. Tarnow
                          United States District Judge

Dated: February 12, 2009

I hereby certify that a copy of the foregoing document was served upon counsel of
record on February 12, 2009, by electronic and/or ordinary mail.

                          S/THERESA E. TAYLOR
                          Case Manager
